                UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW JERSEY
                     TRENTON VICINAGE


 The Doris Behr 2012 Irrevocable
 Trust,

                       Plaintiff,
                                                 Case No. 3:19-cv-8828
 v.

 Johnson & Johnson,

                       Defendant.


                                    COMPLAINT
      The Doris Behr 2012 Irrevocable Trust (“the Trust”) is one of many shareholders
in Johnson & Johnson. The Trust is seeking shareholder approval for a proposal that
would amend Johnson & Johnson’s bylaws and require the company’s shareholders
to resolve their federal securities law claims through arbitration rather than costly
class-action litigation. See, e.g., Epic Systems Corp. v. Lewis, 138 S. Ct. 1612 (2018).
      Johnson & Johnson, however, refused to include the Trust’s proposal in the
proxy solicitation materials that it recently issued to its shareholders. The Trust seeks
a declaratory judgment that Johnson & Johnson violated the federal securities laws by
excluding the Trust’s proposal from these proxy materials, as well as an injunction
that: (1) requires Johnson & Johnson to issue supplementary proxy materials that
include the Trust’s proposal; (2) requires Johnson & Johnson to announce in those
proxy materials that the Trust’s proposal is legal under federal and New Jersey law;
and (3) prevents Johnson & Johnson from excluding proposals of this sort from future
proxy materials.

                        JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331.



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    2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in the district of New Jersey. See 28 U.S.C. § 1391(b)(2).
    3.   Assignment to the Trenton vicinage is proper because Johnson & Johnson is
headquartered in the southern portion of Middlesex County. See Local Rule 40.1(b).

                                    PARTIES
    4.   Plaintiff The Doris Behr 2012 Irrevocable Trust is a trust established under
the laws of Massachusetts.
    5.   Defendant Johnson & Johnson is a New Jersey corporation whose headquar-
ters are located at One Johnson & Johnson Plaza, New Brunswick, New Jersey
08608.

                       STATUTORY BACKGROUND
    6.   The Doris Behr 2012 Irrevocable Trust (“the Trust”) owns stock in Johnson
& Johnson. The Trust is therefore a partial owner of the company.
    7.   Johnson & Johnson, like many large companies, holds annual shareholder
meetings, where the company’s shareholders vote on decisions relevant to the com-
pany’s business.
    8.   Because Johnson & Johnson is a large and publicly traded company, it is
infeasible for each shareholder to attend this annual meeting in person. To deal with
this problem, Johnson & Johnson sends “proxy solicitation materials” to each of its
shareholders before the annual meeting.
    9.   These proxy materials include: (1) a “proxy statement,” which explains the
issues to be voted on at the meeting and requests authority to vote on behalf of the
shareholder in accordance with the shareholder’s instructions; and (2) a “proxy card,”
which shareholders use to instruct those who will vote on the shareholder’s behalf.
    10. Section 14(a) of the Securities Exchange Act of 1934 requires all proxy so-
licitation materials to comply with the SEC’s rules and regulations. See 15 U.S.C.




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§ 78n(a)). The SEC rules governing proxy solicitations are codified at 17 C.F.R.
§ 240.14a-1 et seq.
      11. Only certain shareholders are eligible to submit proposals for consideration
at the company’s shareholder meetings. Under the SEC’s rules, the proposing share-
holder “must have continuously held at least $2,000 in market value, or 1%, of the
company’s securities entitled to vote on the proposal at the meeting for at least one
year” before submitting the proposal, and must “continue to hold those securities
through the date of the meeting.” 17 C.F.R. § 240.14a-8(b)(1) (attached as Exhibit
9).
      12. A shareholder proposal and its accompanying supporting statement are lim-
ited to 500 words. See 17 C.F.R. § 240.14a-8(b)(1). In addition, the proposal must
be “received at the company’s principal executive offices not less than 120 calendar
days before the date of the company’s proxy statement released to shareholders in
connection with the previous year’s annual meeting.” See 17 C.F.R. § 240.14a-
8(e)(2) (attached as Exhibit 9).
      13. If an eligible shareholder submits a proposal that meets these requirements,

then the company must include that proposal in its proxy solicitation materials unless
the company shows that the proposal falls within one or more of the 13 exceptions

listed in Rule 14a-8(i) (codified at 17 C.F.R. § 240.14a-8(i), attached as Exhibit 9).
One of these exceptions, Rule 14a-8(i)(2), allows a company to exclude proposals
that would “cause the company to violate any state, federal, or foreign law to which
it is subject.” 17 C.F.R. § 240.14a-8(i)(2) (attached as Exhibit 9).
      14. The company bears the burden of demonstrating that an exception listed in
Rule 14a-8(i) applies. See Trinity Wall Street v. Wal-Mart Stores, Inc., 792 F.3d 323,
334 (3d Cir. 2015) (“[The company] bears the burden of establishing as a matter of
law that it properly excluded the proposal under an exception to Rule 14a-8.”).




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              THE TRUST’S SHAREHOLDER PROPOSAL
    15. On November 9, 2018, the Trust submitted a proposal for Johnson &
Johnson’s shareholders to consider and vote upon at the company’s 2019 annual
shareholder meeting. See Exhibit 1.
    16. The text of the Trust’s proposal reads as follows:

       Resolved: The shareholders of Johnson & Johnson request the Board
       of Directors take all practicable steps to adopt a mandatory arbitration
       bylaw that provides:

       • for disputes between a stockholder and the Corporation and/or its
         directors, officers or controlling persons relating to claims under
         federal securities laws in connection with the purchase or sale of any
         securities issued by the Corporation to be exclusively and finally set-
         tled by arbitration under the Commercial Rules of the American
         Arbitration Association (AAA), as supplemented by the Securities
         Arbitration Supplementary Procedures;

       • that any disputes subject to arbitration may not be brought as a class
         and may not be consolidated or joined;

       • an express submission to arbitration (which shall be treated as a writ-
         ten arbitration agreement) by each stockholder, the Corporation
         and its directors, officers, controlling persons and third parties con-
         senting to be bound;

       • unless the claim is determined by the arbitrator(s) to be frivolous,
         the Corporation shall pay the fees of the AAA and the arbitrator(s),
         and if the stockholder party is successful, the fees of its counsel;

       • a waiver of any right under the laws of any jurisdiction to apply to
         any court of law or other judicial authority to determine any matter
         or to appeal or otherwise challenge the award, ruling or decision of
         the arbitrator(s);

       • that governing law is federal law; and

       • for a five-year sunset provision, unless holders of a majority of Cor-
         poration shares vote for an extension and the duration of any exten-
         sion.




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See Exhibit 1.
    17. The Trust’s proposal included a “supporting statement,” which explained:

       The United States is the only developed country in which stockholders
       of public companies can form a class and sue their own company for
       violations of securities laws. As a result, U.S. public companies are ex-
       posed to litigation risk that, in aggregate, can cost billions of dollars
       annually. The costs (in dollars and management time) of defending and
       settling these lawsuits are borne by stockholders. Across the corporate
       landscape, this effectively recirculates money within the same investor
       base, minus substantial attorneys’ fees. Lawsuits are commonly filed
       soon after merger or acquisition announcements, or stock price
       changes, based on little more than their happening.

       We believe arbitration is an effective alternative to class actions. It can
       balance the interests and rights of plaintiffs to bring federal securities
       law claims, with cost-effective protections for the corporation and its
       stockholders.

       The Supreme Court has held that mandatory individual arbitration pro-
       visions are not in conflict with any provision of the federal securities
       laws, and the SEC has no basis to prohibit mandatory arbitration pro-
       visions that apply to federal securities law claims. Furthermore, New
       Jersey law establishes that the bylaws of a corporation are to be inter-
       preted as a contract between the corporation and its stockholders.

       A bylaw providing for mandatory individual arbitration of federal secu-
       rities law claims would permit stockholders and corporations to opt-out
       of a flawed system that often seems more about the lawyers than the
       claimants and invariably wastes stockholder funds on expensive litiga-
       tion costs.
See Exhibit 1.
    18. The Trust owns 1,050 shares of Johnson & Johnson (with a market value
well in excess of $2,000), and it held these shares for at least one year when it sub-
mitted its proposal on November 9, 2018. See Exhibit 1. The Trust will continue to
hold these shares through the company’s 2019 shareholder meeting. The Trust is
therefore eligible to submit this proposal under Rule 14a-8(b)(1). See 17 C.F.R.
§ 240.14a-8(b)(1) (attached as Exhibit 9).



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    JOHNSON & JOHNSON’S DECISION TO EXCLUDE THE
    TRUST’S PROPOSAL FROM ITS 2019 PROXY MATERIALS
    19. In response to the Trust’s proposal, Johnson & Johnson wrote a letter to

the SEC Division of Corporation Finance on December 11, 2018. In this letter, John-
son & Johnson announced its intent to exclude the Trust’s proposal from its proxy
solicitation materials. It also asked the Division to issue a “no-action letter,” which
would declare that the Division will not recommend enforcement action against John-
son & Johnson for excluding the Trust’s proposal. See Exhibit 2.
    20. Johnson & Johnson claimed that the Trust’s proposal should be excluded
under Rule 14a-8(i)(2) because it would cause the company to violate federal law. See
id. at 3–5. Specifically, the company asserted that the Trust’s proposal would cause
Johnson & Johnson to violate section 29(a) of the Securities Exchange Act, which
states that “[a]ny condition, stipulation, or provision binding any person to waive
compliance with any provision of this title or of any rule or regulation thereunder, or
of any rule of a self-regulatory organization, shall be void.” See 15 U.S.C. § 78cc(a).

    21. Johnson & Johnson’s interpretation of section 29(a) was foreclosed by
Shearson/American Express Inc. v. McMahon, 482 U.S. 220 (1987), which enforced
an agreement to arbitrate securities-law claims and rejected the plaintiffs’ contention
that section 29(a) had rendered the agreement unenforceable. The Supreme Court

held that section 29(a) “only prohibits waiver of the substantive obligations imposed
by the Exchange Act,” and does not preclude agreements that require disputes arising
under the Securities Exchange Act to be litigated in an arbitral forum. See id. at 228;
see also Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628
(1985) (“By agreeing to arbitrate a statutory claim, a party does not forgo the sub-
stantive rights afforded by the statute; it only submits to their resolution in an arbitral,
rather than a judicial, forum.”).




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    22. Johnson & Johnson’s argument was also foreclosed by Epic Systems Corp. v.
Lewis, 138 S. Ct. 1612 (2018), which prohibits federal agencies from interpreting
federal statutes to block the enforcement of arbitration agreements unless the statute
has “manifested a clear intention” to depart from the requirements of the Federal
Arbitration Act. Id. at 1632. Nothing in the text of section 29(a) evinces “a clear
intention” to prevent shareholders from agreeing to arbitrate their claims under fed-
eral securities laws.
    23. On December 24, 2018, the Trust wrote to the SEC Division of Corpora-
tion Finance and explained that Johnson & Johnson’s argument was irreconcilable
with Epic Systems. See Exhibit 3. The Trust also reminded the Division that it is for-
bidden to consider any other basis for excluding the Trust’s proposal that was not
presented by the company. See id. at 3 n.6 (citing Staff Legal Bulletin No. 14).
    24. In response to the Trust’s letter of December 24, 2018, Johnson & Johnson
sent a supplementary letter to the SEC Division of Corporation Finance on January
16, 2019. See Exhibit 4. In this letter, Johnson & Johnson argued for the first time
that the Trust’s proposal should be excluded because it would cause the company to

violate New Jersey state law. See id. at 2–4. Johnson & Johnson admitted that no
court in New Jersey has ever ruled on whether a corporation’s bylaws may require

arbitration of shareholder claims. See id. at 3 (“Johnson & Johnson acknowledges that
no New Jersey court has considered the issue of whether a mandatory arbitration by-
law requiring shareholders to arbitrate claims under the federal securities laws would
be legal as a matter of New Jersey law.”). And Johnson & Johnson could not point
to any statutory language that precludes New Jersey corporations from establishing
an arbitration regime of this sort. Instead, Johnson & Johnson attached an opinion
letter from Lowenstein Sandler, which cited cases interpreting Delaware and Pennsyl-
vania law and predicted that the New Jersey courts would follow the rationale in those
cases. See Exhibit 4, Ex. A at 4–8 (citing Sciabacucchi v. Salzberg, No. CV 2017-0931-


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JTL, 2018 WL 6719718 (Dec. 19, 2018), and Kirleis v. Dickie, McCamey & Chilcote,
P.C., 560 F.3d 156, 163 (3d Cir. 2009)).
    25. The Trust responded to this supplementary letter on January 23, 2019. See
Exhibit 5. The Trust protested that New Jersey law was at most “unclear or unsettled”
on the legality of the Trust’s proposal, and that the company could not possibly carry
its burden of establishing that the Trust’s proposal “would, if implemented, cause the
company to violate any state, federal, or foreign law to which it is subject,” as required
by the text of Rule 14a-8(i)(2). See 17 C.F.R. § 240.14a-8(i)(2) (emphasis added);
Exhibit 5 at page 8. The Trust also argued that the opinion letter from Lowenstein
Sandler had misinterpreted the requirements of Delaware, Pennsylvania, and New Jer-
sey law. See id. at 3–10. Finally, the Trust noted that even if Johnson & Johnson were
correct to assert that New Jersey law forbids the company to adopt the Trust’s share-
holder-arbitration proposal, the Federal Arbitration Act would preempt New Jersey
law and allow Johnson & Johnson to implement the Trust’s proposal regardless of
what state law says. See id. at 10–12.
    26. On January 29, 2019, the Attorney General of New Jersey sent a letter to

the SEC Division of Corporation Finance in support of Johnson & Johnson. See Ex-
hibit 6. In this letter, the Attorney General opined that the Trust’s proposal, if

adopted, would cause Johnson & Johnson to violate New Jersey law. See id. at 2–5.
The Attorney General, like Johnson & Johnson, was unable to identify any statutory
language or any New Jersey court decision that prohibits a corporation from requiring
its shareholders to arbitrate their federal securities law claims. See id. at 3 (acknowl-
edging the “absence of controlling New Jersey authority”). Instead, the New Jersey
Attorney General based his opinion on Delaware judicial opinions, as well as strained
inferences from New Jersey statutes that say nothing about whether corporations may
include arbitration requirements in their bylaws. See id. at 2–5.




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    27. On February 1, 2019, the Trust sent a letter to the SEC Division of Corpo-
ration Finance in response to the letter from the New Jersey Attorney General. See
Exhibit 7. The Trust reiterated its claim that the Federal Arbitration Act will preempt
any provision of New Jersey law that might prevent Johnson & Johnson from adopt-
ing the Trust’s proposal, and it noted that the Attorney General’s letter did not even
attempt to address the issue of FAA preemption. See id. at 3.

                      THE SEC’S NO-ACTION LETTER
    28. After considering all of these submissions, the SEC Division of Corporation
Finance issued a “no-action letter” on February 11, 2019, announcing that it would
not recommend enforcement action if Johnson & Johnson proceeded with its plan to
exclude the Trust’s proposal from its 2019 proxy materials. See Exhibit 8. The no-
action letter opined that Johnson & Johnson could exclude the Trust’s proposal un-
der Rule 14a-8(i)(2), but only on the ground that the proposal would cause Johnson
& Johnson to violate state law. See id.
    29. In reaching this conclusion, the Division put decisive weight on the letter
submitted by the Attorney General of New Jersey. See id. (“When parties in a rule
14a-8(i)(2) matter have differing views about the application of state law, we consider
authoritative views expressed by state officials. Here, the Attorney General of the State
of New Jersey, the state’s chief legal officer, wrote a letter to the Division stating that
‘the Proposal, if adopted, would cause Johnson & Johnson to violate New Jersey state
law.’ We view this submission as a legally authoritative statement that we are not in a
position to question.”).
    30. The Division, however, emphasized that it was “not expressing its own view
on the correct interpretation of New Jersey law,” and that it was not “‘approving’ or
‘disapproving’ the substance of the Proposal or opining on the legality of it.” Id. The




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Division also invited the parties to “seek a more definitive determination from a court
of competent jurisdiction.” Id.
    31. The Division refused to opine on whether the Trust’s proposal would cause
Johnson & Johnson to violate federal law. See id. (“We are also not expressing a view
as to whether the Proposal, if implemented, would cause the Company to violate fed-
eral law.”).
    32. In reliance on the Division’s no-action letter, Johnson & Johnson excluded
the Trust’s proposal from the 2019 proxy materials that it mailed to its shareholders
on March 13, 2019.
    33. The company’s annual shareholder meeting is scheduled for April 25, 2019,
so there is still time for Johnson & Johnson to issue supplementary proxy materials
that include the Trust’s proposal before the 2019 shareholder meeting.
    34. The Trust intends to submit its proposal again for the 2020 shareholder
meeting, and it will continue submitting this proposal each year until the proposal is
adopted by the shareholders.

   COUNT ONE: VIOLATION OF FEDERAL SECURITIES LAW
    35. Johnson & Johnson violated section 14(a) of the Securities Exchange Act
by excluding the Trust’s proposal from its 2019 proxy materials. Section 14(a) re-
quires compliance with all SEC rules governing proxy solicitations, and Rule 14a-8
required Johnson & Johnson to include the Trust’s proposal in its proxy materials
unless it could establish that an exception listed in Rule 14a-8(i) applies.
    36. The only exception that Johnson & Johnson has invoked is Rule 14a-
8(i)(2), which allows the company to exclude proposals that would cause the company
to violate federal or state law.




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       37. The Trust’s proposal will not cause Johnson & Johnson to violate federal
law, because the Federal Arbitration Act requires the enforcement of arbitration agree-
ments, and Johnson & Johnson has been unable to identify any federal statute that
“manifest[s] a clear intention to displace the Arbitration Act.” Epic Systems, 138 S.
Ct. at 1632.
       38. The Trust’s proposal will not cause Johnson & Johnson to violate the law
of New Jersey, because neither Johnson & Johnson nor the New Jersey Attorney
General has identified any New Jersey statute or court decision that prohibits the en-
forcement of the arbitration agreements described in the Trust’s proposal.
       39. Even if Johnson & Johnson had shown that New Jersey courts would de-
cline to enforce the arbitration agreements described in the Trust’s proposal, that still
would not show that the company would “violate” New Jersey law by amending its
corporate bylaws to provide for the arbitration of securities law claims. A company
does not “violate” state law by entering into an arbitration agreement that happens
to be unenforceable under the law of that state. Parties to an unenforceable contract
have not “violated” state law unless the law imposes civil or criminal penalties on the

act of entering into the particular agreement (such as a civil or criminal conspiracy).
A company that merely enters into an arbitration agreement that the state courts will

not enforce, by contrast, has not “violated” any law; it has simply made an agreement
that will not be enforceable in court.
       40. Finally, even if Johnson & Johnson could show that New Jersey law prohib-
its the enforcement of corporate bylaws that provide for arbitration of a shareholder’s
federal securities law claim, a state law of that sort would be preempted by the Federal
Arbitration Act and void.
       41. The Trust therefore seeks declaratory and injunctive relief under the Declar-
atory Judgment Act, 28 U.S.C. § 2201, and section 14(a) of the Securities Exchange
Act.


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    42. The Trust seeks a preliminary and permanent injunction that will require
Johnson & Johnson to issue supplemental proxy materials that include the Trust’s
proposal before the shareholder meeting scheduled for April 25, 2019, and that pre-
vents Johnson & Johnson from excluding the Trust’s proposal (or similar proposals)
from its proxy materials in future years.
    43. The Trust also seeks injunctive relief that requires Johnson & Johnson to
announce in its proxy materials that the Trust’s proposal is legal under the law of New
Jersey and under the law the United States. The public assertions of illegality that
Johnson & Johnson and the New Jersey Attorney General have made will taint the
Trust’s proposal in the eyes of shareholders, and Johnson & Johnson is obligated to
remove this taint by informing shareholders that the Trust’s proposal is lawful. To
omit an affirmative statement of legality will render the proxy materials misleading, in
violation of Rule 14a-9. See 17 C.F.R. § 240.14a-9.

                            DEMAND FOR RELIEF
    44. The Trust respectfully requests that the court:
         a.     declare that Johnson & Johnson violated section 14(a) of the Securi-
                ties Exchange Act by excluding the Trust’s proposal from its 2019
                proxy materials;
         b.     declare that Johnson & Johnson will not violate federal law if it
                amends its bylaws in the manner described in the Trust’s proposal;
         c.     declare that Johnson & Johnson will not violate the law of New Jersey
                if it amends its bylaws in the manner described in the Trust’s proposal;
         d.     declare that any New Jersey law that purports to prevent a company
                from requiring its shareholders to arbitrate their federal securities law
                claims is preempted by the Federal Arbitration Act;




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       e.      issue preliminary and permanent injunctions that: (i) require Johnson
               & Johnson to issue supplemental proxy materials that include the
               Trust’s proposal before the shareholder meeting scheduled for April
               25, 2019; (ii) require Johnson & Johnson to announce in those proxy
               materials that the Trust’s proposal is legal under both federal and New
               Jersey law; and (iii) prevent Johnson & Johnson from excluding the
               Trust’s proposal (or similar proposals) from its proxy materials in fu-
               ture years;
       f.      award costs and attorneys’ fees;
       g.      grant all other relief that the Court deems just, proper, or equitable.

                                           Respectfully submitted.

                                            /s/ Walter S. Zimolong
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Dated: March 21, 2019                      Counsel for Plaintiff




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